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  5   Attorneys for Ragle, Inc.
  6
                              UNITED STATES DISTRICT COURT
  7
                                     DISTRICT OF ARIZONA
  8
  9    Composite Construction, LLC, an              Case No.: 4:20-cv-00392-SHR
       Arizona limited liability company,
 10                                                 Corporate Disclosure Statement
                            Plaintiff,
 11
       vs.
 12
       Ragle, Inc., an Indiana corporation;
 13    John/Jane Does 1-10; ABC Business
       Entities 1-10,
 14
                            Defendants.
 15
 16
 17          This Corporate Disclosure Statement is filed on behalf of Ragle, Inc. in compliance
 18   with the provisions of: (check one)
 19                 Rule 7.1 Federal Rules of Civil Procedure, a nongovernmental corporate
 20                 party to an action in a district court must file a statement that identifies any
 21                 parent corporation and any publicly held corporation that owns 10% or more
 22                 of its stock or states that there is no such corporation.
 23                 Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
 24                 corporate party to a proceeding in a district court must file a statement that
 25                 identifies any parent corporation and any publicly held corporation that
 26                 owns 10% or more of its stock or states that there is no such corporation.
 27                 Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational
 28                 victim of alleged criminal activity is a corporation the government must file
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  1
                  a statement identifying the victim and the statement must also disclose the
  2
                  information required by Rule 12.4(a)(1).
  3
            The filing party hereby declares as follows:
  4
                  No such corporation.
  5
                  Party is a parent, subsidiary or other affiliate of a publicly owned
  6
                  corporation as listed below. Attach additional pages if needed.)
  7
                                                             Relationship
  8
                  Publicly held corporation, not a party to the case, with a financial interest
  9
                  in the outcome. List identify of corporation and the nature of financial
 10
                  interest. (Attach additional pages if needed.)
 11
                  Other (please explain)
 12
 13
 14
            A supplemental disclosure statement will be filed upon any change in the
 15
      information provided herein.
 16
            DATED this 15th day of September, 2020.
 17
                                       JENNINGS, HAUG & CUNNINGHAM, L.L.P.
 18
 19
                                       s/ Edward Rubacha (#011689)
 20                                    Edward Rubacha
                                       Attorneys for Ragle, Inc.
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  1                            CERTIFICATE OF SERVICE
  2          I hereby certify that on September 15, 2020, I electronically transmitted a
      Corporate Disclosure Statement to the Clerk's Office using the CM/ECF System for
  3   filing and transmittal of a Notice of Electronic Filing to the following CM/ECF
      registrants:
  4
            Alana Lynn Porrazzo
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 10
 11
                                            s/ Sheryl Higgins
 12                                         Sheryl Higgins

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